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  Name and address:


  Naeun Rim (SBN 263558)

  MANATT, PHELPS & PHILLIPS, LLP

  2049 Century Park East, Suite 1700

  Los Angeles, CA 90067
                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER:
                                                                2:20-cv-04451-MWF-MRW
Lance Aaron Wilson et al
                                                 PLAINTIFF(S)
                                v.


                                                                        NOTICE OF CHANGE OF ATTORNEY
Felicia L Ponce et al                                                 BUSINESS OR CONTACT INFORMATION
                                               DEFENDANT(S)

                                                    INSTRUCTIONS
Attorneys with pending cases:
If you are counsel of record in a case currently pending in this district and you need to update your business or contact
information, you must file and serve this form in each of your pending cases. Doing so will satisfy your notice obligation
under Local Rule 83-2.4. In addition, if you are registered to use the Court's electronic filing system, you must log in to
your PACER account and update your information online. See Local Rule 5-4.8.1. For instructions, visit
www.cacd.uscourts.gov/e-filing/updating-your-contact-information.
Attorneys with no pending cases:
If you are registered to use the Court's electronic filing system, but have no cases currently pending in this district, and
you need to update your business or contact information in the Court's records, you must log in to your PACER account
and update your information online (see www.cacd.uscourts.gov/e-filing/updating-your-contact-information). Doing so
satisfies your obligations under Local Rules 5-4.8.1 and 83-2.4; you do not need to submit this or any other form.
If you are not registered to use the Court's electronic filing system, have no cases currently pending in this district, and
need to update your business or contact information in the Court's records, please complete this form (you may leave the
caption and case number blank) and email it to "email_update@cacd.uscourts.gov" with the subject line "Attention:
Attorney Admission Clerk." Doing so satisfies your notice obligation under Local Rule 83-2.4.
Please note:
Use this form only to make changes to an attorney's business or contact information, not to change a party's
representation. If you need to add, remove, or substitute counsel in a particular case, use Form G-01 ("Request for
Approval of Substitution or Withdrawal of Counsel") or Form G-123 ("Notice of Appearance or Withdrawal of Counsel").
SECTION I - IDENTIFYING INFORMATION

Name: Naeun Rim
Current email address of record: nrim@birdmarella.com
Check one:         Member of the Central District Bar; CA Bar No: 263558                        Admitted pro hac vice
Counsel of record for (if filing in a pending case): Lance Aaron Wilson, Maurice Smith, Edgar Vasquez,


If you are an Assistant United States Attorney or Deputy Federal Public Defender in this district, indicate your agency and
office:
                         FPDO                   USAO (specify):       Civil Division      Criminal Division
                            Los Angeles            Santa Ana                   Riverside
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                                                                                                American LegalNet, Inc.
                                                                                                www.FormsWorkFlow.com
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SECTION II - UPDATED INFORMATION
    I need to update the email address associated with my records. My new primary email address is:
     nrim@manatt.com
     Note: if you need to update the secondary email address(es) associated with your account, you must log in and makes those changes
     yourself.
    I need to update other business or contact information. Please replace my current contact information with the following
    new information:
      Attorney's name changed to:
      Name of new firm or government agency: Manatt, Phelps & Phillips, LLP
      New address:     2049 Century Park East, Suiite 1700, Los Angeles, CA 90067
      New telephone number: 310-312-4000                               New fax number: 310-312-4224
      New email address (for non-e-filers):

SECTION III - APPLICATION TO CLOSED CASES
If you are registered to use the Court's e-filing system, you will have the opportunity to change your contact information
in cases that are no longer pending when you update your information in PACER. If you are not registered, using this
form to update your information will affect pending and future cases only, unless you check one of the boxes below:

           Update my information in all cases (including closed cases) in which I am listed as counsel of record.
           Update my information in only the following cases (include case name and number; attach additional pages if necessary):




SECTION IV - REGISTERING TO USE THE COURT'S E-FILING SYSTEM
If you have not yet registered to use the Court's e-filing system, you may do so at www.pacer.gov. Click "Manage My
Account" in the upper right corner of the screen, log in using your individual upgraded PACER account, and select the
"Maintenance" tab. Select "Attorney Admissions/E-File Registration," choose "U.S. District Courts" and the Central
District of California from the dropdown menus, click on the "E-File Registration Only" button, and follow the
instructions. Your request will be submitted to the Central District. If approved, you will be notified that your e-filing
privileges have been activated.


SECTION V - SIGNATURE
Pursuant to Rule 83-2.4 of the Local Rules for the Central District of California, I hereby notify the Clerk of Court and all
parties to this action, if any action is named above, that my business or contact information has changed as indicated
herein.


      Date: June 7, 2021                                Signature: /s/ Naeun Rim
                                                                    Naeun Rin




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